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                    Exhibit 1
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                IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MARYLAND


 BROCK STONE, et al.,

                        Plaintiffs,                        Case 1:17-cv-02459-MJG

 v.                                                        Hon. Marvin J. Garbis

 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

                        Defendants.



                          DEFENDANTS’ INITIAL DISCLOSURES

       Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A), Defendants make the following

initial disclosures based on the information reasonably available as of this date.

       The Department of Defense is currently undertaking a study of policies concerning

transgender service members and upon completion of that study, and the development of any

new policies resulting from that study, Defendants will supplement these disclosures as

appropriate consistent with Federal Rule of Civil Procedure 26(e).


Date: January 9, 2018

                                      Respectfully submitted,

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                                      Acting Assistant Attorney General
                                      Civil Division

                                      BRETT A. SHUMATE
                                      Deputy Assistant Attorney General

                                      JOHN R. GRIFFITHS
                                      Branch Director



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                       ANTHONY J. COPPOLINO
                       Deputy Director

                       /s/ Ryan B. Parker
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on January 9, 2018, a copy of the document above was served by

email on the following:

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                                                          /s/ Ryan Parker
                                                          RYAN B. PARKER
                                                          Senior Trial Counsel
                                                          U.S. Department of Justice




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